                   Case 17-17184                  Doc 22             Filed 08/28/17 Entered 08/28/17 13:21:24                                       Desc Main
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 Fill in this information to identify your case:

 Debtor 1                   Yariv Cohen
                            First Name                      Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS

 Case number           17-17184
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
 2.1          Christina (Mounts) Hunter                              Last 4 digits of account number                        $14,557.42        $14,557.42                    $0.00
              Priority Creditor's Name
              902 Revere Road                                        When was the debt incurred?
              Glenview, IL 60025
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes

 2.2          Schiller, DuCanto & Fleck                              Last 4 digits of account number                        $22,618.24        $22,618.24                    $0.00
              Priority Creditor's Name
              200 N. LaSalle St., Suite 3000                         When was the debt incurred?
              Chicago, IL 60601
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Ex-wife's legal fees

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 Debtor 1 Yariv Cohen                                                                                        Case number (if know)           17-17184

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Advocate Health                                           Last 4 digits of account number                                                                   $12,000.00
            Nonpriority Creditor's Name
            PO Box 3039                                               When was the debt incurred?
            Oak Brook, IL 60522-3039
            Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

             Debtor 1 only                                            Contingent
             Debtor 2 only                                            Unliquidated
             Debtor 1 and Debtor 2 only                               Disputed
             At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                   Student loans
            debt                                                       Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

             No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                      Other. Specify     Medical debt


 4.2        Gertrude B. Nielsen Child Care                            Last 4 digits of account number                                                                     $5,045.00
            Nonpriority Creditor's Name
            3835 Willow Road                                          When was the debt incurred?
            Northbrook, IL 60062
            Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

             Debtor 1 only                                            Contingent
             Debtor 2 only                                            Unliquidated
             Debtor 1 and Debtor 2 only                               Disputed
             At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                   Student loans
            debt                                                       Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

             No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                      Other. Specify     Services rendered




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 3
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 Debtor 1 Yariv Cohen                                                                                      Case number (if know)        17-17184

           Goldstine, Skrodski, Russian,
 4.3       Nemec                                                      Last 4 digits of account number                                                             $20,000.00
           Nonpriority Creditor's Name
           835 McClintock Drive, Second Floor                         When was the debt incurred?
           Willowbrook, IL 60527
           Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                             Contingent
            Debtor 2 only                                             Unliquidated
            Debtor 1 and Debtor 2 only                                Disputed
            At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                    Student loans
           debt                                                        Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

            No                                                        Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                       Other. Specify     Services rendered

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Advocate Medical Group                                        Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 8550 W. Bryn Mawr Ave                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 8th Floor
 Chicago, IL 60631
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                     37,175.66
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                     37,175.66

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                          0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                     37,045.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                     37,045.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                    Yariv Cohen
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS

 Case number              17-17184
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X                                                                           X
              Yariv Cohen                                                               Signature of Debtor 2
              Signature of Debtor 1
              Date       August 23, 2017                                                Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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